 1   Stephen D. Finestone (125675)
     Jennifer C. Hayes (197252)
 2   Ryan A. Witthans (301432)
     FINESTONE HAYES LLP
 3   456 Montgomery Street, Floor 20
     San Francisco, CA 94104
 4   Tel.: (415) 421-2624
     Fax: (415) 398-2820
 5   Email: rwitthans@fhlawllp.com

 6   Attorneys for Plaintiff,
     Vrinderpaul Mann
 7

 8                           UNITED STATES BANKRUPTCY COURT

 9                           NORTHERN DISTRICT OF CALIFORNIA

10                                           OAKLAND DIVISION

11
      In re                                              Case No. 18-40252-WJL
12                                                       Chapter 7
      HORIA SAID,
13                                                       STIPULATION TO VOLUNTARILY
                                Debtor.                  DISMISS ADVERSARY PROCEEDING
14

15    VRINDERPAUL MANN,                                  Adv. Proc. No. 18-04091

16                              Plaintiff,               [No hearing requested]

17             v.
18    HORIA SAID, Debtor,
19
                                Defendant.
20

21

22            Plaintiff Vrinderpaul Mann and debtor-defendant Horia Said (collectively, the “Parties”)
23   have reached a settlement of their dispute. Pursuant to their settlement, the Parties hereby
24   stipulate as follows:
25            1.     This adversary proceeding shall be dismissed with prejudice.
26            2.     The Parties agree to bear their own costs and attorneys’ fees.
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     STIPULATION TO VOLUNTARILY DISMISS ADVERSARY PROCEEDING                                             1

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 1   DATED: March 4, 2021                     FINESTONE HAYES LLP

 2
                                              /s/ Ryan A. Witthans
 3                                            Ryan A. Witthans
                                              Attorneys for Vrinderpaul Mann
 4

 5   DATED: March 4, 2021                     FARSAD LAW OFFICE, P.C.
 6
                                              /s/ Nancy Weng
 7                                            Nancy Weng
                                              Attorneys for Horia Said
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     STIPULATION TO VOLUNTARILY DISMISS ADVERSARY PROCEEDING                             2

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